                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE


 CASSANDRA MATNEY, Individually and                   Case No.
 on Behalf of All Others Similarly Situated,

                                Plaintiff,            CLASS ACTION COMPLAINT

                        v.
                                                      JURY TRIAL DEMANDED
 REVANCE THERAPEUTICS, INC., MARK J.
 FOLEY, and TOBIN C. SCHILKE,

                                Defendants.


       Plaintiff Cassandra Matney (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Revance Therapeutics, Inc. (“Revance” or the “Company”), analysts’

reports and advisories about the Company, and information readily obtainable on the Internet.

Plaintiff believes that substantial, additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Revance securities

between February 29, 2024 and December 6, 2024, both dates inclusive (the “Class Period”),

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   Case 3:25-cv-00018         Document 1        Filed 01/03/25       Page 1 of 21 PageID #: 1
seeking to recover damages caused by Defendants’ violations of the federal securities laws and to

pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its

top officials.

        2.       Revance is a biotechnology company that develops, manufactures, and

commercializes neuromodulators for various aesthetic and therapeutic indications in the U.S. and

internationally.

        3.       In January 2020, Revance entered into a distribution agreement (the “Distribution

Agreement”) with Teoxane SA (“Teoxane”), pursuant to which Teoxane granted Revance “the

exclusive right to import, market, promote, sell and distribute Teoxane’s line of Resilient

Hyaluronic Acid® dermal fillers, which include: (i) the RHA® Collection of dermal fillers and

(ii) the RHA® Pipeline Products in the U.S., U.S. territories and possessions, in exchange for

2,500,000 shares of [Revance] common stock” and certain other commitments by Revance. In

addition, under the Distribution Agreement, Revance is required to meet certain minimum

purchase obligations and certain minimum expenditure requirements and either party may

terminate the Teoxane Agreement in the event of “a material breach by the other party, including

certain specified breaches that include the right for Teoxane to terminate the Teoxane Agreement

for [Revance’s] failure to meet the minimum purchase requirements or commercialization

expenditure during specified periods, or for [Revance’s] breach of the exclusivity obligations”

under the Distribution Agreement.

        4.       In August 2024, Revance and Crown Laboratories, Inc. (“Crown”), a privately held

marketer and manufacturer of skincare products, jointly announced that they had entered into a

merger agreement (the “Merger Agreement”) pursuant to which the companies would seek to



                                                 2

    Case 3:25-cv-00018         Document 1      Filed 01/03/25     Page 2 of 21 PageID #: 2
merge. Under the terms of the Merger Agreement, Crown would commence a tender offer (the

“Tender Offer”) to acquire all outstanding shares of Revance’s common stock for $6.66 per share

in cash, representing a total enterprise value of $924 million.

       5.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and prospects. Specifically, Defendants

made false and/or misleading statements and/or failed to disclose that: (i) Revance was in material

breach of the Distribution Agreement; (ii) the foregoing subjected the Company to an increased

risk of litigation, as well as monetary and reputational harm; (iii) all the foregoing increased the

risk that the Tender Offer would be delayed and/or amended; and (iv) as a result, the Company’s

public statements were materially false and misleading at all relevant times.

       6.      On September 23, 2024, Revance disclosed in an SEC filing that it “received a

notice to remedy alleged material breaches, including breaches of the maximum levels of buffer

stock and required efforts to promote and sell Teoxane products, under the Company’s exclusive

distribution agreement with Teoxane SA”. Due to the dispute with Teoxane, Revance advised that

Crown’s Tender Offer had been delayed until at least October 4, 2024.

       7.      On this news, Revance’s stock price fell $0.445 per share, or 7.66%, to close at

$5.365 per share on September 23, 2024.

       8.      Then, on December 9, 2024, Revance disclosed in an SEC filing that Crown and

Revance had amended their merger agreement, and that Crown would shortly commence a tender

offer to acquire all outstanding shares of Revance’s common stock for $3.10 per share in cash—a

drop of over 50% in the purchase price.

       9.      Market analysts were quick to comment on the reduced Tender Offer purchase

price. For example, on December 9, 2024, Reuters published an article entitled “Revance agrees



                                                 3

   Case 3:25-cv-00018         Document 1        Filed 01/03/25     Page 3 of 21 PageID #: 3
to lower take-private offer by Crown Labs,” which quoted an analyst from the investment banking

firm Stifel as stating “[t]his significant devaluation is a reflection of multiple forced errors, starting

with the failed launch strategy for Daxxify and ensuing reputational damage to Revance’s

relationships to the surprise merger announcement near all-time lows, then leading to accusations

of breach of contract with Teoxane.”

        10.      On this news, Revance’s stock price fell $0.79 per share, or 20.68%, to close at

$3.03 per share on December 9, 2024.

        11.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

        12.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

        13.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

        14.      Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Revance is headquartered in this District, Defendants

conduct business in this District, and a significant portion of Defendants’ actions took place within

this District.

        15.      In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited




                                                    4

    Case 3:25-cv-00018          Document 1        Filed 01/03/25       Page 4 of 21 PageID #: 4
to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                              PARTIES

        16.     Plaintiff, as set forth in the attached Certification, acquired Revance securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

        17.     Defendant Revance is a Delaware corporation with principal executive offices

located at 1222 Demonbreun Street, Suite 2000, Nashville, Tennessee 37203. The Company’s

common stock trades in an efficient market on the Nasdaq Global Market (“NASDAQ”) under the

ticker symbol “RVNC.”

        18.     Defendant Mark J. Foley (“Foley”) has served as Revance’s Chief Executive

Officer at all relevant times.

        19.     Defendant Tobin C. Schilke (“Schilke”) has served as Revance’s Chief Financial

Officer at all relevant times.

        20.     Defendants Foley and Schilke are collectively referred to herein as the “Individual

Defendants.”

        21.     The Individual Defendants possessed the power and authority to control the

contents of Revance’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of Revance’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Revance, and their access to material information available to them but not to the public, the

Individual Defendants knew that the adverse facts specified herein had not been disclosed to and



                                                  5

   Case 3:25-cv-00018            Document 1     Filed 01/03/25      Page 5 of 21 PageID #: 5
were being concealed from the public, and that the positive representations being made were then

materially false and misleading. The Individual Defendants are liable for the false statements and

omissions pleaded herein.

       22.       Revance and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

                                            Background

       23.       Revance is a biotechnology company that develops, manufactures, and

commercializes neuromodulators for various aesthetic and therapeutic indications in the U.S. and

internationally.

       24.       In January 2020, Revance entered into the Distribution Agreement with Teoxane.

        Materially False and Misleading Statements Issued During the Class Period

       25.       The Class Period begins on February 29, 2024, the day after Revance filed an

Annual Report on Form 10-K with the SEC during after-market hours, reporting the Company’s

financial and operating results for the quarter and year ended December 31, 2023 (the “2023 10-

K”). In discussing the Company’s strategy, the 2023 10-K stated, in relevant part:

                We have and will continue to selectively evaluate partnerships, distribution
                 opportunities, joint development agreements and acquisitions to expand our
                 aesthetic and therapeutic franchises and enhance our competitive position:

                    o Our Teoxane partnership enabled us to enter the U.S. dermal filler
                      market and has provided the foundation for DAXXIFY® and
                      potential future product commercialization.

       26.       Further, with respect to the Distribution Agreement, the 2023 10-K stated, in

relevant part:

             Under the Teoxane Agreement, as amended in September 2020, November
       2020 and December 2022, we are required to meet certain minimum purchase

                                                  6

   Case 3:25-cv-00018          Document 1       Filed 01/03/25      Page 6 of 21 PageID #: 6
       obligations during each year of the term and are required to meet certain minimum
       expenditure requirements in connection with commercialization efforts. Either
       party may terminate the Teoxane Agreement in the event of the insolvency of, or a
       material breach by, the other party, including certain specified breaches that include
       the right for Teoxane to terminate the Teoxane Agreement for our failure to meet
       the minimum purchase requirements or commercialization expenditure during
       specified periods, or for our breach of the exclusivity obligations under the Teoxane
       Agreement.

This was plainly a catchall provision not sufficiently tailored to meet the known and/or foreseeable

risks facing the Company.

       27.       Appended to the 2023 10-K as exhibits were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that “[t]he

information contained in the [2023 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

       28.       On May 9, 2024, Revance filed a Quarterly Report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended March 31, 2024 (the

“Q1 2024 10-Q”). With respect to the Distribution Agreement, the Q1 2024 10-Q stated, in

relevant part:

                In January 2020, we entered into the Teoxane Agreement, as amended,
       pursuant to which Teoxane granted us the exclusive right to import, market,
       promote, sell and distribute Teoxane’s line of Resilient Hyaluronic Acid® dermal
       fillers, which include: (i) RHA® Collection of dermal fillers, and (ii) the RHA®
       Pipeline Products in the U.S. and U.S. territories and possessions, in exchange for
       2,500,000 shares of our common stock and certain other commitments by us. The
       Teoxane Agreement is effective for a term of ten years from product launch in
       September 2020 and may be extended for a two-year period upon the mutual
       agreement of the parties. We are required to meet certain minimum purchase
       obligations during each year of the term. Our minimum purchase obligation for the
       year ending December 31, 2024 is $52 million. Our minimum purchase obligations
       after December 31, 2024 will be determined based on projected market growth rate.
       We are also required to meet certain minimum expenditure requirements in
       connection with commercialization and promotion of RHA® Collection of dermal
       fillers and RHA® Pipeline Products, which is $36 million for the year ending
       December 31, 2024. Minimum expenditures related to the commercialization and



                                                 7

   Case 3:25-cv-00018          Document 1      Filed 01/03/25      Page 7 of 21 PageID #: 7
       promotion of the RHA® Collection of dermal fillers and RHA® Pipeline Products
       after December 31, 2024 will be determined at a later date.

               Either party may terminate the Teoxane Agreement in the event of the
       insolvency of, or a material breach by, the other party, including certain specified
       breaches that include the right for Teoxane to terminate the Teoxane Agreement for
       our failure to meet the minimum purchase requirements or commercialization
       expenditure during specified periods, or for our breach of the exclusivity
       obligations under the Teoxane Agreement.

This was plainly a catchall provision not sufficiently tailored to meet the known and/or foreseeable

risks facing the Company.

       29.       Appended to the Q1 2024 10-Q as exhibits were signed certifications pursuant to

SOX by the Individual Defendants, attesting that “[t]he information contained in the [Q1 2024 10-

Q] fairly presents, in all material respects, the financial condition and results of operations of the

Company.”

       30.       On August 8, 2024, Revance filed a Quarterly Report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended June 30, 2024 (the

“Q2 2024 10-Q”). With respect to the Distribution Agreement, the Q2 2024 10-Q stated, in

relevant part:

                In January 2020, we entered into the Teoxane Agreement, as amended,
       pursuant to which Teoxane granted us the exclusive right to import, market,
       promote, sell and distribute Teoxane’s line of Resilient Hyaluronic Acid® dermal
       fillers, which include: (i) RHA® Collection of dermal fillers, and (ii) the RHA®
       Pipeline Products in the U.S. and U.S. territories and possessions, in exchange for
       2,500,000 shares of our common stock and certain other commitments by us. The
       Teoxane Agreement is effective for a term of ten years from product launch in
       September 2020 and may be extended for a two-year period upon the mutual
       agreement of the parties. We are required to meet certain minimum purchase
       obligations during each year of the term. Our minimum purchase obligation for the
       year ending December 31, 2024 is $52 million. Our minimum purchase obligations
       after December 31, 2024 will be determined based on projected market growth rate.
       We are also required to meet certain minimum expenditure requirements in
       connection with commercialization and promotion of RHA® Collection of dermal
       fillers and RHA® Pipeline Products, which is $36 million for the year ending
       December 31, 2024. Minimum expenditures related to the commercialization and

                                                  8

   Case 3:25-cv-00018          Document 1       Filed 01/03/25      Page 8 of 21 PageID #: 8
       promotion of the RHA® Collection of dermal fillers and RHA® Pipeline Products
       after December 31, 2024 will be determined at a later date.

               Either party may terminate the Teoxane Agreement in the event of the
       insolvency of, or a material breach by, the other party, including certain specified
       breaches that include the right for Teoxane to terminate the Teoxane Agreement for
       our failure to meet the minimum purchase requirements or commercialization
       expenditure during specified periods, or for our breach of the exclusivity
       obligations under the Teoxane Agreement.

This was plainly a catchall provision not sufficiently tailored to meet the known and/or foreseeable

risks facing the Company.

       31.     Appended to the Q2 2024 10-Q as exhibits were signed certifications pursuant to

SOX by the Individual Defendants, attesting that “[t]he information contained in the [Q2 2024 10-

Q] fairly presents, in all material respects, the financial condition and results of operations of the

Company.”

       32.     On August 12, 2024, Revance issued a press release entitled “Crown Laboratories

and Revance Announce Entry Into Merger Agreement.” The press release stated, in relevant part:

       Crown [. . .] and Revance [. . .] today announced that they have entered into a
       merger agreement pursuant to which the companies seek to merge the two
       complementary organizations.

       Under the terms of the agreement, which has been unanimously approved by
       Revance’s Board of Directors, Crown will commence a tender offer to acquire all
       outstanding shares of Revance’s common stock for $6.66 per share in cash,
       representing a total enterprise value of $924 million. The purchase price represents
       a premium of 89% over Revance’s closing market price on August 9, 2024, and a
       111% premium to Revance’s 60-day volume-weighted average price.

       “This is a significant step forward in Crown’s vision to become a fully integrated
       global aesthetics and skincare company, bringing innovative solutions to
       physicians, patients and consumers in the incredibly dynamic aesthetics and
       skincare market,” said Jeff Bedard, founder and Chief Executive Officer of Crown.
       “Revance has an impressive track record in developing innovative aesthetics
       offerings that will complement Crown’s innovative line of skincare products. As a
       combined company, we have the opportunity to create a comprehensive portfolio
       of high-growth products for all stages of life, and we will be committed to investing



                                                  9

   Case 3:25-cv-00018          Document 1       Filed 01/03/25      Page 9 of 21 PageID #: 9
       in education, training, and practice support for aesthetics providers across the
       United States.”

       Upon completion of the transaction, Crown Laboratories expects to be one of the
       leading global aesthetics and skincare companies in an attractive, high-growth
       market, with an industry-leading portfolio of 10+ cutting-edge skin health and
       aesthetic brands, and one of the largest distribution footprints in skincare across
       medical, retail and e-commerce channels.

       [Defendant] Foley[] said, “Over the past several years, Revance has brought to the
       market innovative aesthetic and therapeutic offerings that have elevated patient and
       physician experiences. We are excited about this transaction and to be joining
       forces with Crown Laboratories, which will enable us to broaden our provider
       network as well as provide us with an expanded portfolio of products. We also
       believe that the merger provides substantial value for our stockholders. Crown
       shares our commitment to innovation and scale and will help us accelerate our
       growth. Scale and product breadth are important factors in the markets in which we
       compete and, by combining with Crown, we will be able to offer our customers a
       more compelling range of products and services while, at the same time, benefiting
       from the combined strength of our collective commercial organizations.”

(Emphasis added).

       33.     The statements referenced in ¶¶ 25-32 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.              Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Revance was

in material breach of the Distribution Agreement; (ii) the foregoing subjected the Company to an

increased risk of litigation, as well as monetary and reputational harm; (iii) all the foregoing

increased the risk that the Tender Offer would be delayed and/or amended; and (iv) as a result, the

Company’s public statements were materially false and misleading at all relevant times.

                                      The Truth Emerges

       34.     On September 23, 2024, the Company disclosed in a filing on Form 8-K with the

SEC, in relevant part, that:




                                                10

  Case 3:25-cv-00018           Document 1    Filed 01/03/25      Page 10 of 21 PageID #: 10
                 On August 16, 2024, Revance Therapeutics, Inc. (the “Company” or
        “Revance”) received a notice to remedy alleged material breaches, including
        breaches of the maximum levels of buffer stock and required efforts to promote
        and sell Teoxane products, under the Company’s exclusive distribution
        agreement with Teoxane SA (“Teoxane”), dated January 10, 2020, as amended
        (the “Distribution Agreement”). The Company denies the alleged material
        breaches asserted in the notice, does not believe that the asserted allegations
        constitute material breaches under the terms of the Distribution Agreement and
        intends to defend itself vigorously. The Company is engaged in discussions with
        Teoxane regarding the notification. These discussions could result in various
        outcomes, including but not limited to, the Company and Teoxane agreeing to
        modify certain terms of the Distribution Agreement, including the Company’s
        minimum purchase obligations thereunder or the Company or Teoxane seeking
        remedies under the Distribution Agreement, including Teoxane seeking to
        terminate the Distribution Agreement. The Distribution Agreement continues to be
        in full force and effect.

                In light of these discussions, on September 19, 2024, Revance, Crown
        Laboratories, Inc. (“Crown”) and Reba Merger Sub, Inc. (“Merger Sub,” and
        together with Crown, the “Buyer Parties”) agreed to extend the date by which
        Merger Sub is obligated to commence the tender offer for all of the outstanding
        shares of common stock of the Company (the “Offer”) pursuant to the previously
        announced Agreement and Plan of Merger, dated as of August 11, 2024, by and
        among the Buyer Parties and the Company (the “Merger Agreement”), to
        October 4, 2024 or such other date as may be mutually agreed to between the
        Company and the Buyer Parties. The Company’s ongoing discussions with
        Teoxane and the Buyer Parties could result in delays to the consummation of the
        Offer or in the Company or the Buyer Parties seeking remedies in accordance with
        the terms of the Merger Agreement.

(Emphasis added).

        35.     On this news, Revance’s stock price fell $0.445 per share, or 7.66%, to close at

$5.365 per share on September 23, 2024.

        36.     Then, on December 9, 2024, Revance disclosed in a filing on Form 8-K with the

SEC filing, in relevant part, that:

               On December 7, 2024, Crown Laboratories, Inc., a Delaware corporation
        (“Parent”), Reba Merger Sub, Inc., a Delaware corporation and wholly owned
        subsidiary of Parent (“Merger Sub,” and together with Parent, the “Buyer
        Parties”), and Revance Therapeutics, Inc., a Delaware corporation (“Revance” or
        the “Company”), entered into an Amended and Restated Agreement and Plan of
        Merger (the “A&R Merger Agreement”), pursuant to which Parent will cause

                                               11

  Case 3:25-cv-00018          Document 1     Filed 01/03/25    Page 11 of 21 PageID #: 11
       Merger Sub to commence a tender offer (as it may be amended from time to time
       as permitted by the A&R Merger Agreement, the “Offer”) on December 12, 2024
       to purchase all of the outstanding shares of common stock, par value $0.001 per
       share, of the Company (the “Company Common Stock,” each a “Share” and
       collectively, the “Shares”) at a price of $3.10 per Share (such amount per Share,
       the “Offer Price”), in cash, without interest. As soon as practicable following the
       consummation of the Offer, on the terms and subject to the conditions set forth in
       the A&R Merger Agreement, Merger Sub will be merged with and into the
       Company (the “Merger”), with the Company surviving as a wholly owned
       subsidiary of Parent. The A&R Merger Agreement amends and restates the
       Agreement and Plan of Merger (the “Original Agreement”), dated as of August 11,
       2024, by and among the Company and the Buyer Parties.

(Emphasis added).

       37.     Market analysts were quick to comment on the reduced Tender Offer purchase

price. For example, on December 9, 2024, Reuters published an article entitled “Revance agrees

to lower take-private offer by Crown Labs,” which stated, in relevant part:

       Crown Laboratories would buy the anti-wrinkle injection maker Revance
       Therapeutics[], opens new tab at a roughly 50% lower price compared to an original
       agreement signed in August, the companies said on Monday, sending the latter’s
       stock tumbling 20%.

       The lowered takeover price follows months of delay in the deal after Revance,
       which makes a rival to AbbVie’s (ABBV.N), opens new tab blockbuster product
       Botox, faced a dispute with its partner Teoxane.

       As per the current agreement, Crown will buy all of Revance’s outstanding shares
       for $3.10 per share, or $325.20 million according to Reuters’ calculations. The
       previous agreement was for $6.66 per share or $924 million.

       Revance received a notice in September for breaching the maximum allowed buffer
       stock levels and not adequately promoting and selling Teoxane’s dermal fillers, as
       required by their distribution agreement.

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       “This significant devaluation is a reflection of multiple forced errors, starting
       with the failed launch strategy for Daxxify and ensuing reputational damage to
       Revance’s relationships to the surprise merger announcement near all-time lows,
       then leading to accusations of breach of contract with Teoxane,” said Stifel
       analyst Annabel Samimy.



                                                12

  Case 3:25-cv-00018        Document 1       Filed 01/03/25      Page 12 of 21 PageID #: 12
(Emphasis added).

       38.     On this news, Revance’s stock price fell $0.79 per share, or 20.68%, to close at

$3.03 per share on December 9, 2024.

       39.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  SCIENTER ALLEGATIONS

       40.     During the Class Period, Defendants had both the motive and opportunity to

commit fraud. They also had actual knowledge of the misleading nature of the statements they

made, or acted in reckless disregard of the true information known to them at the time. In so doing,

Defendants participated in a scheme to defraud and committed acts, practices, and participated in

a course of business that operated as a fraud or deceit on purchasers of the Company’s securities

during the Class Period.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Revance securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       42.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Revance securities were actively traded on the



                                                 13

  Case 3:25-cv-00018        Document 1        Filed 01/03/25      Page 13 of 21 PageID #: 13
NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Revance or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        43.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        44.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

        45.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

                  whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Revance;

                  whether the Individual Defendants caused Revance to issue false and misleading
                   financial statements during the Class Period;

                  whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

                  whether the prices of Revance securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and


                                                   14

  Case 3:25-cv-00018           Document 1        Filed 01/03/25        Page 14 of 21 PageID #: 14
                  whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       46.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       47.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

                  Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

                  the omissions and misrepresentations were material;

                  Revance securities are traded in an efficient market;

                  the Company’s shares were liquid and traded with moderate to heavy volume
                   during the Class Period;

                  the Company traded on the NASDAQ and was covered by multiple analysts;

                  the misrepresentations and omissions alleged would tend to induce a reasonable
                   investor to misjudge the value of the Company’s securities; and

                  Plaintiff and members of the Class purchased, acquired and/or sold Revance
                   securities between the time the Defendants failed to disclose or misrepresented
                   material facts and the time the true facts were disclosed, without knowledge of
                   the omitted or misrepresented facts.

       48.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

       49.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.




                                                   15

  Case 3:25-cv-00018           Document 1        Filed 01/03/25      Page 15 of 21 PageID #: 15
United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                             COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        50.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        51.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        52.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Revance securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Revance

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.

        53.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

                                                 16

  Case 3:25-cv-00018         Document 1        Filed 01/03/25      Page 16 of 21 PageID #: 16
above, including statements made to securities analysts and the media that were designed to

inRevance the market for Revance securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Revance’s finances and business prospects.

        54.         By virtue of their positions at Revance, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

        55.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Revance, the Individual Defendants had knowledge of the details of Revance’s

internal affairs.

        56.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.        Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Revance. As officers and/or directors of a publicly-held company, the Individual Defendants had

a duty to disseminate timely, accurate, and truthful information with respect to Revance’s

businesses, operations, future financial condition and future prospects.       As a result of the



                                                  17

  Case 3:25-cv-00018           Document 1       Filed 01/03/25    Page 17 of 21 PageID #: 17
dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of Revance securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning Revance’s business and financial condition which were

concealed by Defendants, Plaintiff and the other members of the Class purchased or otherwise

acquired Revance securities at artificially inflated prices and relied upon the price of the securities,

the integrity of the market for the securities and/or upon statements disseminated by Defendants,

and were damaged thereby.

        57.     During the Class Period, Revance securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Revance

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired

said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Revance securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Revance securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

        58.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

        59.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,



                                                  18

  Case 3:25-cv-00018          Document 1        Filed 01/03/25      Page 18 of 21 PageID #: 18
acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                             COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

          60.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          61.   During the Class Period, the Individual Defendants participated in the operation

and management of Revance, and conducted and participated, directly and indirectly, in the

conduct of Revance’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Revance’s misstatement of income and expenses and false financial

statements.

          62.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Revance’s

financial condition and results of operations, and to correct promptly any public statements issued

by Revance which had become materially false or misleading.

          63.   Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Revance disseminated in the marketplace during the Class Period concerning

Revance’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Revance to engage in the wrongful acts complained of herein.

The Individual Defendants, therefore, were “controlling persons” of Revance within the meaning




                                                 19

  Case 3:25-cv-00018          Document 1       Filed 01/03/25      Page 19 of 21 PageID #: 19
of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of Revance securities.

       64.     Each of the Individual Defendants, therefore, acted as a controlling person of

Revance. By reason of their senior management positions and/or being directors of Revance, each

of the Individual Defendants had the power to direct the actions of, and exercised the same to

cause, Revance to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Revance and possessed the

power to control the specific activities which comprise the primary violations about which Plaintiff

and the other members of the Class complain.

       65.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Revance.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: January 3, 2025                                  Respectfully submitted,



                                                   20

  Case 3:25-cv-00018         Document 1        Filed 01/03/25      Page 20 of 21 PageID #: 20
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                                    21

Case 3:25-cv-00018   Document 1   Filed 01/03/25     Page 21 of 21 PageID #: 21
